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   Attorneys for Federal Defendants
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   EASTON STOKES,                          )
                                             ) C-19-cv-04613 WHA
14           Plaintiff,                      )
                                             ) UNOPPOSED REQUEST FOR EXTENSION ON
15      v.                                   ) BRIEFING; [PROPOSED] ORDER
                                             )
16   UNITED STATES DEPARTMENT OF             )
     JUSTICE, et al.                         )
17                                           )
             Defendants.                     )
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     UNOPPOSED REQUEST FOR EXTENSION ON BRIEFING; [PROPOSED] ORDER
     C-19-4613 WHA
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 1          Pursuant to Civil Local Rules 6-1 and 6-2, Federal Defendants hereby request that the due date

 2 for the simultaneous supplemental briefing ordered by the Court (Dkt. Nos. 68 and 81) be continued for

 3 thirty days, from February 11, 2021 to March 15, 2021. Counsel for Federal Defendants has contacted

 4 counsel for Plaintiff and counsel for State Defendants, and both have confirmed their non-opposition to

 5 this request.

 6          This request is based on the recent unexpected and lengthy leave from the office of undersigned

 7 counsel for Federal Defendants. Counsel was absent from the office on family medical leave and

 8 bereavement leave, due to the sickness, hospitalization, and death of a family member. Counsel for

 9 Federal Defendants has recently returned to the office, and requires additional time to complete the

10 briefing requested by the Court.

11          This extension will not impact any other scheduled dates in this matter. In addition, the parties

12 have timely completed the further discovery ordered by the Court (Dkt. No. 68), and do not request

13 continuance of any deadline other than the briefing currently due on February 11, 2021. Finally, this

14 unopposed request is not brought for the purposes of delay.

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16                                                Respectfully submitted,

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18 DATED: February 3, 2021                        DAVID L. ANDERSON
                                                  United States Attorney
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                                                     /s/ Julie Bibb Davis
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                                                  JULIE BIBB DAVIS
21                                                Assistant United States Attorney
                                                  Attorneys for Federal Defendants
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     UNOPPOSED REQUEST FOR EXTENSION ON BRIEFING; [PROPOSED] ORDER
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 1
                                           [PROPOSED] ORDER
 2
            For good cause shown, Federal Defendants’ unopposed request for extension on briefing is
 3
     GRANTED. The parties’ simultaneous supplemental briefing ordered in Dkt. Nos. 68 and 81 shall be
 4
     filed on or before March 15, 2021.
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 6        IT IS SO ORDERED.

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 8 DATED: __________________.
            February 3, 2021
 9                                                     HONORABLE WILLIAM ALSUP
                                                       UNITED STATES DISTRICT JUDGE
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     UNOPPOSED REQUEST FOR EXTENSION ON BRIEFING; [PROPOSED] ORDER
28   C-19-4613 WHA

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